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EXHlBIT D

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1 The Day¢ona Beach Tangax Office is temporarily located at the West Concourse of the Ocean Center, 101 N.
At|an\ic Ave, Daytona Beach, FL 32118. The DeLand, Orange City, and New Smyrna Beach Offices are open.

386-736-5938
Revenue@volusia.org

   

2017 RO|| DetailS -~ Rea| Estate ACCOunt At 126 H|CKORY ST|CK, DEBARY

l Rea\ Estate Account #802816000040 Latest bill

  

§§;Pn`m this page
L.__..______._,.___,

    

arce| details

 

r~J Fu|| bill history

 

 

 

 

 

 

 

 

2017 2016 2015 2014 2002
PA|D PA|D PA|D PA|D PAID

   

Get Bills by Emai|

 

PA|D 2017-11-29
$3,260.47
Receip¢ #EEX-17-
00000477
Prlnt Receipt g”§

 

 

 

Owner: TH|ES ROBERT 81 |NA RUTH
126 H|CKORY STICK CT
DEBARY, FL 32713

Si!us: 126 HICKORY STICK
DEBARY

Accoum number: 802816000040
A|ternate Key: 6090203
Mi|lage code: 015 ~ DeBary
Mi||age rate: 19.16710
Escrow company: REG|ONS NIORTGAGE (CL-0054608)
95 METHOD|ST H|LL DR-STE 100
ROCHESTER, NY14623

Assessed value: 192,031
School assessed value: 192,031

EXempinnS G|S- Property Appraiser

HOMESTEAD: 25,000
ADD|T|ONAL HOMESTEAD: 25,000

2017 Annua| bill

 

Ad valorem: $2,685.32
Non-ad valorem: $511.00
Tota| Discountab|e: 3396.32
No D|scount NAVA: 0,00
Tota| tax:

Lega| description

LoT 4 oEBARv PLANTATIoN uNIT 1613-2 115 49 Pes 15 a 16 PER oR 5145 PG 2965
Location

Book, page, items 5145-2965~
Geo numbers 30182816000040
Range: 30
Township: 18
Sec¢ion: 28

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Neighborhood: 9858
B|ock: 00

Lot: 0040
Use codes 01

 

 

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